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                                                                    and FARMER JOHN
                                                         10
                                                         11                                  UNITED STATES DISTRICT COURT
                           Los Angeles, California 90071-2627
                            550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                         12                             CENTRAL DISTRICT OF CALIFORNIA

                                                         13         NYLES DILLON,                          Case No.: 2:17-cv-07891 R (PLAx)
                                                                                                           Honorable Manuel L. Real
                                                         14
                                                                                Plaintiff,                 DEFENDANTS CLOUGHERTY
                                                         15
                                                                                                           PACKING, LLC AND FARMER
                                                         16              v.                                JOHN’S NOTICE OF MOTION AND
                                                                                                           MOTION FOR SUMMARY
                                                         17
                                                                                                           JUDGMENT
                                                         18         CLOUGHERTY PACKING LLC, a
                                                                    Delaware limited liability company;    [Filed Concurrently with Memorandum of
                                                         19         FARMER JOHN, a business entity, form   Points and Authorities; Statement of
                                                         20         unknown; and DOES 1 through 50,        Uncontroverted Facts and Conclusions of
                                                                    inclusive,                             Law; Compendium of Evidence; and
                                                         21
                                                                                                           [Proposed] Order]
                                                         22
                                                                                Defendants.                Date:            August 6, 2018
                                                         23
                                                                                                           Time:            10:00 a.m.
                                                         24                                                Courtroom:       880
                                                         25
                                                                                                           Trial:           September 11, 2018
                                                         26                                                Time:            9:00 a.m.
                                                         27
                                                         28
                                                                              DEFENDANTS’ CLOUGHERTY PACKING LLC AND FARMER JOHN’S
                                                                               NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT
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                                                                1   TO PLAINTIFF AND HIS COUNSEL OF RECORD:
                                                                2         PLEASE TAKE NOTICE that on August 6, 2018 at 10:00 a.m., or as soon
                                                                3   thereafter as the matter may be heard, before the Honorable District Judge Manuel L.
                                                                4   Real, Defendants Clougherty Packing LLC and Farmer John (collectively
                                                                5   “Clougherty”) will and hereby do move, pursuant to Rule 56 of the Federal Rules of
                                                                6   Civil Procedure, for summary judgment in favor of Clougherty on each and all of
                                                                7   Plaintiff’s causes of action. This Motion is made on the grounds that there are no
                                                                8   genuine disputes of material fact and Clougherty is entitled to judgment as a matter of
                                                                9   law as to each of Plaintiff’s claims and Clougherty’s defenses to same.
                                                         10               More specifically, Clougherty is entitled to judgment for the following reasons:
                                                         11            First Cause of Action: Wrongful Termination in Violation of Public Policy
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                                                         12                              Government Code §§12490 et seq. [FEHA]
                                                         13               1.     Clougherty is entitled to summary judgment on Plaintiff’s cause of action
                                                         14         for wrongful termination in violation of public policy, because this claim is merely
                                                         15         derivative of his predicate discrimination and retaliation claims, all of which fail as a
                                                         16         matter of law for the reasons described below.
                                                         17               2.     Clougherty is entitled to summary judgment on Plaintiff’s cause of action
                                                         18         for wrongful termination in violation of public policy, because Plaintiff’s employment
                                                         19         with Clougherty was terminated for legitimate business reasons and Plaintiff cannot
                                                         20         show pretext.
                                                         21                    Second Cause of Action: Discrimination Based Upon Disability
                                                         22                         Violation of Government Code §§12490 et seq. [FEHA]
                                                         23               3.     Clougherty is entitled to summary judgment on Plaintiff’s cause of action
                                                         24         for perceived and/or physical disability harassment, because Plaintiff was not a
                                                         25         qualified individual suffering from a legally cognizable disability under FEHA.
                                                         26               4.     Clougherty is entitled to summary judgment on Plaintiff’s cause of action
                                                         27         for perceived and/or physical disability discrimination, because Clougherty was not
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                                                                               DEFENDANTS’ CLOUGHERTY PACKING LLC AND FARMER JOHN’S
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                                                                1   made aware and had no reason to believe that Plaintiff had any disability under
                                                                2   FEHA.
                                                                3         5.      Clougherty is entitled to summary judgment on Plaintiff’s cause of action
                                                                4   for perceived and/or physical disability discrimination, because there is no causal
                                                                5   connection between any adverse employment action Plaintiff claims to have suffered
                                                                6   and Plaintiff’s alleged disability.
                                                                7         6.      Clougherty is entitled to summary judgment on Plaintiff’s cause of action
                                                                8   for perceived and/or physical disability discrimination, because it terminated
                                                                9   Plaintiff’s employment for a legitimate, non-discriminatory reason, and Plaintiff
                                                         10         cannot show pretext.
                                                         11                           Third Cause of Action: Failure to Accommodate
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                                                         12                               Government Code §§12490 et seq. [FEHA]
                                                         13               7.      Clougherty is entitled to summary judgment on Plaintiff’s cause of action
                                                         14         for failure to accommodate Plaintiff’s alleged disability because Plaintiff’s alleged
                                                         15         injury did not amount to a cognizable disability pursuant to FEHA.
                                                         16               8.      Clougherty is entitled to summary judgment on Plaintiff’s cause of
                                                         17         action for failure to accommodate Plaintiff’s alleged disability because Clougherty
                                                         18         was not made aware and had no reason to believe Plaintiff had any disability under
                                                         19         FEHA.
                                                         20               9.      Clougherty is entitled to summary judgment on Plaintiff’s cause of action
                                                         21         for failure to accommodate Plaintiff’s alleged disability because Plaintiff never
                                                         22         requested any disability accommodation from Clougherty, nor did Clougherty have
                                                         23         reasonable grounds to suspect that accommodation may be necessary.
                                                         24                Fourth Cause of Action: Failure to Engage in the Interactive Process
                                                         25                               Government Code §§12490 et seq. [FEHA]
                                                         26               10.     Clougherty is entitled to summary judgment on Plaintiff’s cause of action
                                                         27         for failure to engage Plaintiff’s in the interactive process of determining potentially
                                                         28                                              2
                                                                                DEFENDANTS’ CLOUGHERTY PACKING LLC AND FARMER JOHN’S
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                                                                1   reasonable disability accommodations because Plaintiff’s alleged injury did not
                                                                2   amount to a cognizable disability pursuant to FEHA.
                                                                3         11.     Clougherty is entitled to summary judgment on Plaintiff’s cause of
                                                                4   action for failure to engage Plaintiff’s in the interactive process of determining
                                                                5   potentially reasonable disability accommodations because Clougherty was not made
                                                                6   aware and did not have any reason to believe that Plaintiff had any disability under
                                                                7   FEHA.
                                                                8         12.     Clougherty is entitled to summary judgment on Plaintiff’s cause of action
                                                                9   for failure to engage Plaintiff’s in the interactive process of determining potentially
                                                         10         reasonable disability accommodations because Plaintiff never requested any disability
                                                         11         accommodation from Clougherty, nor did Clougherty have reasonable grounds to
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                                                         12         suspect that any accommodation may be necessary.
                                                         13                                   Fifth Cause of Action: Retaliation
                                                         14                              Government Code §§12490 et seq. [FEHA]
                                                         15               13.     Clougherty is entitled to summary judgment on Plaintiff’s cause of action
                                                         16         for retaliation in violation of Government Code section 12940(h), because Plaintiff did
                                                         17         not engage in protected activity under FEHA.
                                                         18               14.     Clougherty is entitled to summary judgment on Plaintiff’s cause of action
                                                         19         for retaliation in violation of Government Code section 12940(h), because Plaintiff
                                                         20         cannot show any causal connection between any alleged protected activity engaged in
                                                         21         by Plaintiff and any adverse employment action taken against Plaintiff.
                                                         22               15.     Clougherty is entitled to summary judgment on Plaintiff’s cause of action
                                                         23         for retaliation, because it terminated Plaintiff’s employment for legitimate, non-
                                                         24         retaliatory reasons, and Plaintiff cannot show evidence of pretext.
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                                                                1       Sixth Cause of Action: Failure to Prevent Discrimination and Retaliation
                                                                2                        Government Code §§12490 et seq. [FEHA]
                                                                3         16.     Clougherty is entitled to summary judgment on Plaintiff’s cause of action
                                                                4   for failure to prevent discrimination and retaliation in violation of Government Code
                                                                5   section 12940(h), because Plaintiff cannot establish underlying predicate claims of
                                                                6   discrimination or retaliation.
                                                                7          Seventh Cause of Action: Intentional Infliction of Emotional Distress
                                                                8         17.     Clougherty is entitled to summary judgment on Plaintiff’s common law
                                                                9   cause of action for intentional infliction of emotional distress, because the conduct
                                                         10         Plaintiff complains of does not rise to the level of extreme or outrageous conduct.
                                                         11               18.     Clougherty is entitled to summary judgment on Plaintiff’s common law
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                                                         12         cause of action for intentional infliction of emotional distress, because Plaintiff’s
                                                         13         claim is based on an everyday personnel action – specifically, management of
                                                         14         Plaintiff’s attendance points.
                                                         15               19.     Clougherty is entitled to summary judgment on Plaintiff’s common law
                                                         16         cause of action for intentional infliction of emotional distress, because this claim is
                                                         17         barred by the worker’s compensation exclusivity rule.
                                                         18                           Eighth Cause of Action: Unpaid Overtime Wages
                                                         19                                      Cal. Labor Code §§510, 1194
                                                         20               20.     Clougherty is entitled to summary judgment on Plaintiff’s statutory
                                                         21         overtime claim because he was a unionized employee, subject to a collective
                                                         22         bargaining agreement that expressly provided for overtime pay, while earning a pay
                                                         23         rate more than 30 percent above minimum wage, and was therefore exempted from
                                                         24         the premium pay provisions of California Labor Code § 510(a) pursuant to California
                                                         25         Labor Code § 514.
                                                         26               21.     Clougherty is entitled to summary judgment on Plaintiff’s statutory claim
                                                         27         seeking double-overtime pay because Plaintiff did not work more than 12 hours in any
                                                         28                                              4
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                                                                1   single workday, nor did he work more than eight hours on any seventh workday in a
                                                                2   single workweek.
                                                                3                      Ninth Cause of Action: Waiting Time Penalties
                                                                4                                Cal. Labor Code §§202, 203
                                                                5         22.     Clougherty is entitled to summary judgment on Plaintiff’s statutory claim
                                                                6   for waiting time penalties because this claim is merely derivative of her underlying
                                                                7   overtime claim, which fails as a matter of law.
                                                                8        Tenth Cause of Action: Failure To Provide Accurate Wage Statements
                                                                9                                   Cal. Labor Code §226
                                                         10               23.     Clougherty is entitled to summary judgment on Plaintiff’s statutory claim
                                                         11         for failure to provide accurate wage statements because this claim is merely derivative
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                                                         12         of his underlying overtime claim, which fails as a matter of law.
                                                         13                            Eleventh Cause of Action: Unfair Competition
                                                         14                                     Cal. Bus. & Prof. Code §17200
                                                         15               24.     Clougherty is entitled to summary judgment on Plaintiff’s unfair
                                                         16         competition claim, because this claim is merely derivative of his predicate claims
                                                         17         asserted under the California Labor Code, all of which fail as a matter of law for the
                                                         18         reasons described above.
                                                         19         Twelfth Cause of Action: Retaliation / Termination in Violation of Public Policy
                                                         20                     Cal. Labor Code §§ 226, 510, 1194; Bus. & Prof. Code § 17200
                                                         21               25.     Clougherty is entitled to summary judgment on Plaintiff’s cause of action
                                                         22         for retaliation / termination in violation of public policy, because Plaintiff cannot
                                                         23         show that he engaged in any protected activity.
                                                         24               26.     Clougherty is entitled to summary judgment on Plaintiff’s cause of action
                                                         25         for retaliation, because Plaintiff cannot show any causal connection between the
                                                         26         alleged protected activity and any adverse employment actions.
                                                         27
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                                                                1         27.     Clougherty is entitled to summary judgment on Plaintiff’s cause of action
                                                                2   for retaliation, because it terminated Plaintiff for a legitimate, non-retaliatory reason,
                                                                3   and Plaintiff cannot show evidence of pretext.
                                                                4                          Plaintiff’s Claims for Punitive Damages
                                                                5         28.     Clougherty is entitled to summary judgment on any and all of Plaintiff’s
                                                                6   claims for punitive damages, because the lone individual to whom Plaintiff attributes
                                                                7   all wrongful conduct is not an officer, director, or managing agent of Clougherty.
                                                                8         29.     Clougherty is entitled to summary judgment on Plaintiff’s claims for
                                                                9   punitive damages, because Plaintiff cannot demonstrate that any of the conduct he
                                                         10         alleges to support his claims was malicious, oppressive, or fraudulent.
                                                         11               30.     Clougherty is entitled to summary judgment on Plaintiff’s claim for
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                                                         12         punitive damages because no officer, director or managing agent of Clougherty
                                                         13         ratified wrongful conduct amounting to fraud, malice or oppression towards Plaintiff.
                                                         14               This Motion is based upon this Notice of Motion and Motion as well as the
                                                         15         concurrently filed Memorandum of Points and Authorities In Support Thereof,
                                                         16         Separate Statement of Undisputed Material Facts, Clougherty’s Compendium of
                                                         17         Evidence, all files and records in this action, and such other matters or arguments as
                                                         18         may be presented to the Court prior to its ruling on this Motion.
                                                         19
                                                         20         DATED: July 9, 2018                           HUNTON ANDREWS KURTH LLP

                                                         21
                                                         22                                                       By: /s/ D. Andrew Quigley
                                                                                                                      ANDREA R. CALEM
                                                         23
                                                                                                                      D. ANDREW QUIGLEY
                                                         24                                                           SEAN-PATRICK WILSON
                                                         25                                                           Attorneys for Defendants
                                                                                                                      CLOUGHERTY PACKING, LLC
                                                         26                                                           AND FARMER JOHN
                                                         27
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                                                                                DEFENDANTS’ CLOUGHERTY PACKING LLC AND FARMER JOHN’S
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